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    July 2,2019

    Via ECF,Email and Messenger
    Honorable Sean Lane
    United States Bankruptcy Court
    Southern District of New York
    One Bowling Green
    New York New York 10004-1408

            Re:         In re Jeffrey Lew Liddle, Case No. 19-10747(shl)

    Dear Judge Lane:

            As debtor's counsel in the above-referenced case, we submit this letter in response to
    the "Post-Hearing Submission" filed by Counsel Financial II LLC ("CF II"), dated July 1,
    2019, relating to the hearing held on June 24 regarding CF II's alleged perfected security
    interest in certain Cash Collateral. The Post-Hearing Submission is wholly improper. CF II's
    assertion that Debtor raised new arguments at the June 24 hearing is a mere pretext for its own
    attempt to reargue the motion and introduce new evidence not part of the record. The Court
    should not countenance this blatant dilatory tactic.

            First, the Debtor's argument that CF II could not use a temporary restraining order to
    grant permanent relief was merely an elucidation ofthe argument raised in "Debtor's Response
    and Memorandum of Law in Opposition to Counsel Financial II LLC's Claim of a Perfected
    Security Interest In and Lien on Certain Cash Collateral"(ECF 84)(the "Debtor's Response")
    that the "Escrow Stipulation" was a Court Order that must be interpreted in the context ofthe
    CPLR's scheme for provisional remedies, not the UCC. As set forth therein:

                     The CPLR contains two entire articles, Articles 52 and 62,
                     dealing with how litigants attach property, perfect liens and
                     collect claims pre- and post-judgment. CF II's UCC arguments
                     are irrelevant. The CPLR contains a comprehensive scheme that
                    "governs the creation, perfection, priority [and] enforcement" of
                     interests created by court judgments. See, e.g. NY CPLR Art. 27
                    ("Disposition of Property in Litigation"); id. Art. 51
                    ("Enforcements ofJudgments and Orders Generally"); id. Art. 52
                    ("Enforcements of Money Judgments"); id. Art. 52
                    ("Attachment"). In particular, Articles 52 and 62 of the CPLR
                     cover the applicable issues ofsecurity on attachment orjudgment
                     against ajudgment debtor,the property ofthejudgment debtor or
                     a third party(such as an escrow agent)holding property of the

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                   judgment debtor(emphasis supplied). None ofthe cases cited by
                   CF II, applying the UCC, involve judgments or orders of
                   attachment.

    Debtor's Response at p. 10. Included in CPLR Article 62 is Section 6210,governing temporary
    restraining orders, which was the statutory basis for the Escrow Stipulation. At oral argument,
    Debtor's counsel merely recited the precise language ofthe Escrow Stipulation so it could be
    understood in the context of the CPLR's statutory scheme regarding temporary restraining
    orders and other provisional remedies.

             The balance ofCF II's "Post-Hearing Submission" is a rehash ofthe June 24 argument,
    particularly the Mixitforme case, which was addressed in the briefs and discussed extensively
    at oral argument. No new argument is made. CF II does try to add a few new exhibits, Exhibits
    E,F and G,not previously included in the record which should not be added to the record now.
    Besides, these exhibits have no probative value. After introducing these anodyne exhibits, CF
    II's counsel again makes the conclusory statement that Nardone was CF II's agent. Repeatedly
    stating that Ms. Nardone was "undoubtedly" CF II's escrow agent does not make it so.

            Rather, what this letter submission represents is a continuation ofthe "scorched earth"
    litigation tactics that CF II has employed in this Chapter 11 case. Early in this case, your Honor
    admonished us that if parties choose to litigate everything that could possibly be litigated, it
    would be the death knell of Chapter 11 cases like these. All but the very largest mega-cases
    would suffer the fate of the Jarndyce estate in Dickens's Bleak House being completely
    absorbed by costs and attorneys' fees. This should not be allowed to happen here.

            We respectfully request this Court enter the order which has been separately submitted
    pursuant to the Court's instruction at the June 24 hearing and bring this three-month litigation
    saga to an end.




                                                   Partner

    cc:     via email:
            David H. Wander, Esq., counsel to Counsel Financial II, LLC,dhw@dhclegal.com




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